       Case 18-26130-MBK Doc 30-1 Filed 07/27/20 Entered 07/27/20 13:26:51 Desc
     Certification of Stephen McNally in Support of Motion to Permit Late Filing of C Page 1 of 2


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
 McNALLY & ASSOCIATES, L.L.C.
 93 Main Street, Suite 201
 Newton, New Jersey 07860
 (973) 300-4260
 Attorneys for TTLREO, LLC



 In Re:                                                       Case No.:          18-26130

 LORI N. LEWKOWITZ                                            Chapter:           13

                     Debtor.                                  Hearing Date:      8/18/2020

                                                              Judge:             Kaplan


                      CERTIFICATION OF STEPHEN McNALLY IN SUPPORT OF
                    MOTION FOR LEAVE TO FILE PROOF OF CLAIM OUT OF TIME
                          PURSUANT TO BANKRUPTCY RULE 9006(b)(1)

          Stephen McNally certifies as follows:

          1.     I am counsel for TTLREO, LLC (“TTLREO”).

          2.     TTLREO is the holder of a tax sale certificate representing real property taxes due with respect

to property owned by Lori N. Lewkowitz, the above-referenced debtor and debtor-in-possession (the “Debtor”),

located at 10 Overlook Terrace, Fords, New Jersey (the “Property”).

          3.     The Debtor filed its petition for relief under Chapter 11 of Title 11 of the United States Code

(the “Bankruptcy Code”) on August 13, 2018 (the “Filing Date”).

          4.     The bar date for filing claims in the Debtor’s case was October 22, 2018 (the “Bar Date”).

          5.     TTLREO, LLC did not file a proof of claim.

          6.     The Debtor’s Chapter 13 Plan was confirmed on August 22, 2019, and the plan contemplates the

redemption of TTLREO’s certificate.




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     Certification of Stephen McNally in Support of Motion to Permit Late Filing of C Page 2 of 2
      7.       TTLREO, LLC seeks to file its proof of claim out of time pursuant to Rule 9006(b)(1) of the

Federal Rules of Bankruptcy Procedure based on the fact that the claim is fully secured by the Property,

acknowledged in the plan, and the Debtor and the Trustee requires the filed claim in order to make a

distribution to TTLREO.

       8.      F.R.B.P. Rule 9006(b)(1) permits ths Court to enlarge the time for filing a proof of claim after

the passage of the Bar Date if the creditor can establish excusable neglect.

       9.      Based upon the foregoing, TTLREO respectfully requests that it be permitted to file a proof of

claim after the Bar Date. TTLREO has prepared a proof of claim, a copy of which is attached hereto as Exhibit

“A,” which it will file if given leave of the Court.

       I certify that the foregoing is true and correct to the best of my knowledge. I understand that if the

foregoing is wilfully false, I am subject to punishment.

Dated: July 27, 2020

                                                       /s/ Stephen McNally
                                                       STEPHEN McNALLY




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